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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
        United States of America,                              CR 19-02162-TUC-JGZ (EJM)
 9
                                 Plaintiff,                 FINAL ORDER OF FORFEITURE
10
                      v.
11
        Ahmed Mahad Mohamed and
12      Abdi Yemani Hussein,
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                               Defendants.
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              WHEREAS, on August 26, 2024, this Court entered a Preliminary Order of
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       Forfeiture pursuant to the plea agreements entered into by the defendants, ordering the
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       defendants to forfeit $10,002 in U.S. currency; and
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              WHEREAS, consecutively from August 27, 2024, through September 25, 2024,
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       notice of the Preliminary Order of Forfeiture was posted on an official internet government
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       forfeiture site (www.forfeiture.gov) and of the intent of the United States to dispose of the
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       property in accordance with the law and further notifying all third parties of their right to
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       petition the court within sixty (60) days from the first date of publication, for a hearing to
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       adjudicate the validity of their alleged legal interest in the property; and
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              WHEREAS, no timely claim has been filed; and
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              WHEREAS, the Court finds that the defendant had an interest in the property that
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       is subject to forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(G) and
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       Title 28, United States Code, Section 2461(c).
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 1            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that pursuant to Title
 2     18, United States Code, Section 981(a)(1)(G) and Title 28, United States Code, Section
 3     2461(c), all right, title and interest in $10,002 in U.S. currency is hereby forfeited to and
 4     vested in the United States and shall be disposed of according to law.
 5            IT IS FURTHER ORDERED that the United States District Court shall retain
 6     jurisdiction in the case for the purpose of enforcing this order.
 7            DATED this ______ day of ______________________, 2025.
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                                                           Jennifer G. Zipps
11                                                         United States Chief District Judge
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       United States of America v. Ahmed Mahad Mohamed, et al.
       Final Order of Forfeiture – Page 2 of 2
